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1                  UNITED STATES DISTRICT COURT
2               IN AND FOR THE DISTRICT OF WYOMING
3        ---------------------------------------
4        STEPHANIE WADSWORTH, Individually and
         as Parent and Legal Guardian of W.W.,
5        K.W., G.W., and L.W., minor children,
         and MATTHEW WADSWORTH,
6
                                   Plaintiffs,
 7
                        -against-                                Case No.:
 8                                                            23-cv-00118-NDF
 9       WALMART, INC. and JETSON ELECTRIC
         BIKES, LLC,
10
                                   Defendants.
11
         ---------------------------------------
12
13                              Thursday, November 16, 2023
14                              9:46 a.m.
15
16                    Deposition of JEFF SHEAMAN, taken by
17       Plaintiff, pursuant to Notice, held at The Hampton
18       Inn, 1055 Wild Horse Canyon Road, Green River,
19       Wyoming, before Denise Nowak, a Shorthand Reporter
20       and Notary Public within and for the State of Idaho,
21       appearing remotely.
22
23
24
25

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 1       the record -- and I just wanted to put on the
 2       record -- my name is John DeLeon, and I'm with the
 3       Sweetwater County Attorney's Office representing
 4       Detective Sheaman.
 5                        MR. AYALA:       Thank you.
 6       BY MR. AYALA:
 7                  Q.    Sir, who are you currently employed
 8       by?
 9                  A.    Sweetwater County Sheriff's Office.
10                  Q.    And how long have you been employed
11       by the Sheriff's Office?
12                  A.    I've been with the Sheriff's Office
13       just shy of 16 years.        And I've been in law
14       enforcement just shy of 19.
15                  Q.    Okay.    In what capacity are you
16       employed by the Sheriff's Office?
17                  A.    At this point I'm the detective
18       sergeant.
19                  Q.    And how long have you had that role?
20                  A.    Since April of this year.
21                  Q.    Congratulations.
22                  A.    Thank you.
23                  Q.    Prior to that role, what other role
24       or title did you hold for Sheriff's Office?
25                  A.    I was a patrol corporal starting in

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 1       2011, and then I moved into detectives at that
 2       point.     So I've been in investigation since 2011.
 3                  Q.    Talk to me, if you could, the duties
 4       and responsibilities -- really, your role in these
 5       varying capacities from patrol corporal to
 6       detective sergeant.
 7                  A.    So I run a crew of anywhere from five
 8       to six.     So basically I supervise five or six
 9       deputies.
10                        Currently in investigations, I
11       supervise four.      And we conduct followup
12       investigations from initial reports.                We handle
13       conflicts, investigations, death investigations,
14       you know, anything of that magnitude.
15                  Q.    As you, I'm sure, know, you are here
16       today to talk about your involvement in an
17       investigation that took place back in February of
18       2022 relating to a fire at the Wadsworth residence.
19                        You know that, right?
20                  A.    Yes.
21                  Q.    Okay.    Part of your job duties and
22       the role for the Sheriff's Office include not just
23       investigation deaths and crimes but also
24       investigating fires?
25                  A.    Yes.

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 1                  Q.    Does that include origin and cause?
 2                  A.    Yes.
 3                        And that's not all investigators -- I
 4       myself and, I believe, one other deputy with the
 5       Sheriff's Office are certified in origin and cause
 6       investigations.
 7                  Q.    Okay.     Before getting into some of
 8       the more specifics of your certifications, your
 9       education, your training, did you have -- did you
10       bring anything with you today, any types of
11       documents, photographs, anything?
12                  A.    I didn't.       Just my report.
13                  Q.    Okay.     Did you -- other than your
14       counsel who's here with you today, did you speak
15       with any of the attorneys involved in this case?
16                  A.    No.     Just with Mr. DeLeon -- that was
17       it -- just before this deposition.
18                  Q.    All right.        Have you spoken with any
19       other persons involved with this incident in
20       preparation of this deposition; that could include
21       deputies, firefighters, et cetera?
22                  A.    I talked to Bill Robinson who's the
23       chief of Green River Fire.            He actually called me,
24       I believe, a week, week and a half ago just asking
25       me about this depo.        He had questions on how these

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 1       time I've brought them into a fire sitting, whether
 2       it's residential or commercial, I try to help them
 3       kind of understand what my job is as an origin and
 4       cause investigator; that kind of thing.
 5                  Q.    And when you're explaining -- the
 6       reason I ask that is because you come across as
 7       this person to me -- maybe I'm totally off.                  But.
 8                        Are you the type of person with those
 9       that are working alongside you -- you were talking
10       to them, talking them through your processes and
11       trying to help them understand the process?
12                  A.    Yes, very much so.
13                  Q.    And so that includes if there's
14       others -- is there's deputies and other Sheriff's
15       Office personnel that are assisting you on
16       investigation, you are talking them through your
17       processes so that they can gain an understanding of
18       what you're doing, how you are doing it and why you
19       are doing it?
20                  A.    Correct.
21                  Q.    Do you hold any other state
22       certifications that relate to either fire
23       suppression or fire prevention?
24                  A.    No.   That's it.         Just origin and
25       cause.

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 1                  Q.      Do you hold any state certifications
 2       relating to law enforcement?
 3                  A.      Yes.
 4                  Q.      Okay.    And what certifications do you
 5       hold currently?
 6                  A.      Just my peace officer certification.
 7       I've had that since 2005.
 8                  Q.       You say peace officer?
 9                  A.      Yes.
10                  Q.      And what is that?
11                  A.      That's from the law enforcement
12       academy.        So every law enforcement officer in the
13       state of Wyoming has to go through that academy.
14       And it's in Douglas, Wyoming.              And it's about a
15       three to four-month class.
16                  Q.      Is that also a certification that
17       also requires recertifying?
18                  A.      Yes.
19                  Q.      And how often?
20                  A.      You have to have a certain amount of
21       hours.     And it changes constantly.                 So they require
22       a certain amount of hours per year to maintain a
23       certification, whether it be training or on-the-job
24       experience; that kind of thing.
25                  Q.      What kind of training do they offer

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 1                  A.    Okay.
 2                  Q.    But I recall on there -- it looks
 3       like you arrived at the residence at approximately
 4       1300, so 1 p.m.
 5                        Does that jibe with your
 6       recollection?
 7                  A.    Yes.    I believe I had lunch before.
 8       I think I got that call at 11:00 something or just
 9       shy of noon.     I remember grabbing lunch and
10       responded to it after that.
11                        MR. LaFLAMME:        Mark it as 16.
12                        Was that the report?
13                        MR. AYALA:       Yeah.      Let's go ahead and
14       do that.
15                        We'll mark and identify as Exhibit 16
16       Detective Sheaman's report.
17                        (Whereupon, Exhibit 16 was marked for
18       identification.)
19                        MR. LaFLAMME:         Would that be the
20       document listed as Public Investigative Report
21       from --
22                        MR. AYALA:       That's right.
23                        MR. LaFLAMME:        -- County Sheriff?
24                        MR. AYALA:       Yes.
25                        MR. LaFLAMME:         Okay.        One moment.

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 1                        Did I read that correctly?
 2                  A.    Yes.
 3                  Q.    And we talked earlier about whether
 4       you ever concluded that a hoverboard was the cause
 5       of the fire or lithium batteries were a cause of
 6       the fire.
 7                        Irrespective of that, you've become
 8       aware over the years just by the very nature and
 9       virtue of what you do, that hoverboards, in fact,
10       can cause fires?
11                  A.    Yes.
12                  Q.    And you've heard of those stories --
13       even if you haven't investigated one specifically,
14       you've heard of those stories of hoverboards
15       catching fire?
16                  A.    Yes.
17                  Q.    You spoke with Chief Robinson and
18       Chief Urgman.        And you documented, you both agree
19       that the fire started in the bedroom near where the
20       hoverboard was found.
21                  A.    Yes.
22                  Q.    In that conversation with Chief
23       Robinson and Chief Urgman, did you gain an
24       understanding from them that they concluded the
25       hoverboard contributed or caused the fire?

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 1       describe the locations of the window, the bed, the
 2       closet, the outlet, the door.
 3                        Was your description of the locations
 4       of those items in the bedroom consistent with the
 5       information provided to you by Mr. Wadsworth?
 6                  A.    Yes, it was.
 7                  Q.    So you concluded those interviews.
 8       You showed Matt some of the photographs, those were
 9       the photographs that you had taken?
10                  A.    Yes.
11                  Q.    And that assisted you in
12       understanding where those items that he described
13       were located in the house before the fire?
14                  A.    Yes.
15                  Q.    And then Matthew and the children
16       left the building.        That concluded your interview
17       of all of that, correct?
18                  A.    Right.
19                  Q.    Again, the audio and video recordings
20       from the interviews were download into the
21       electronic evidence by you, and the case was closed
22       pending further information, correct?
23                  A.    Right.
24                  Q.    Following March 4th, 2022, have you
25       receive or been provided with any additional

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 1       information relating to this fire incident?
 2                  A.    No.
 3                  Q.    Aside from -- putting this aside for
 4       now, but aside from those hypotheticals that I
 5       asked you about, a shed and smoking and a space
 6       heater and arcing; and in all of those things,
 7       you've not been provided with any additional
 8       information relating to potential origin or cause
 9       of this fire.
10                  A.    No, I have not.
11                  Q.    And even with all of those
12       hypotheticals and the information provided in those
13       hypotheticals, none of that changes your ultimate
14       conclusions that you've reached and pronounced
15       today.
16                  A.    No.
17                        MR. LaFLAMME:         Object to the form.
18       BY MR. AYALA:
19                  Q.    By the way, and we've referred to it
20       and you've described it a little bit earlier today,
21       did you find any arcing at all?
22                  A.    No, I don't believe there was any,
23       not that I noticed.
24                  Q.    Okay.    But even still, as you
25       described earlier, any evidence of arcing, whether

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 1                  A.    Yes.
 2                  Q.    And you understand your NFPA 921
 3       describes the scientific method?
 4                  A.    Yes.
 5                  Q.    And the scientific method requires
 6       you to assess all items, correct?
 7                  A.    Correct.
 8                  Q.    Okay.    And I know that you did your
 9       report, which has been marked as Exhibit 16, and
10       this report was completed.           The last supplemental
11       was, I believe, March, March 4th of 2022, correct?
12                  A.    Correct.
13                  Q.    And any additional evidence that was
14       discovered on the private side, you're not aware of
15       that, right?
16                  A.    Correct.
17                  Q.    And you would agree that in order to
18       complete a full and thorough origin and cause
19       investigation under an NFPA 921, you would need to
20       consider all the evidence that's been uncovered,
21       correct?
22                  A.    Yes.
23                        MR. AYALA:       Object to the form.
24       BY MR. LaFLAMME:
25                  Q.    Did you take any video during your

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                                                                        Page 252

 1                  A.    That's something I would -- I would
 2       definitely be all ears to talk to someone if
 3       someone came to me.       Again, I'm always bouncing
 4       ideas off someone.       If someone came to me and said,
 5       hey, this is what we think, I would definitely look
 6       into that; I would definitely consider, you know,
 7       hey, let's -- let's take a second look at it.                  I've
 8       done that with criminal investigations; I have no
 9       problem with that.       But again, it doesn't change my
10       opinion on where I believe the fire started.
11                  Q.    But you understand under NFPA 921,
12       that if additional evidence comes to light, you
13       need to consider that evidence, correct?
14                  A.    Correct.
15                  Q.    Okay.
16                  A.    And I wasn't -- I didn't hear of any
17       other, you know, any other calls, any other
18       evidence, or anything like that.
19                  Q.    Okay.    I understood that you weren't
20       part of the private investigation --
21                  A.    Sure.
22                  Q.    -- and you haven't been privy of what
23       those results were, but if there was arcing that
24       was found in that shed, you would agree with me
25       that under 921 you would want to reevaluate your

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 1       house, this is what we found; something that might
 2       spark an interest to look back into that, I would
 3       be all over that, I would be very much for that.
 4                        But again, I still hold that opinion
 5       of -- based off what I found, the firefighters
 6       found, in discussing with them what they determined
 7       what was the origin of cause, and it matched mine,
 8       which is what I had said earlier.
 9       BY MR. LaFLAMME:
10                  Q.    And your opinion is based on the
11       information you learned up through March 4th of
12       2022.
13                  A.    Yes.
14                  Q.    Okay.    And even before then, you were
15       told about the smoking shed by Mr. Wadsworth,
16       correct?
17                  A.    Yes, yes.
18                  Q.    And that just wasn't anything that
19       you've followed up on at that time.
20                  A.    Correct.
21                  Q.    The fact that there -- there were
22       statements by the children about the fire starting
23       outside in the body camera footage cam, if there
24       was arcing that was found at the shed, that would
25       certainly cause you to look at that area as a

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 1       potential area of origin.          True?
 2                        MR. AYALA:       Form.
 3                  A.    I would -- in that case, obviously
 4       any additional information I got on something like
 5       that I would look into it for sure.
 6                  Q.    Okay.    And with that type of
 7       additional information, if that is the result of
 8       the private investigation, Chief Robison indicated
 9       yesterday that he would have -- as he was sitting
10       there yesterday, based, if that information was
11       true, he would have to put under NFPA 921 the
12       original as undetermined and his investigation as
13       ongoing.
14                        Would that be the same qualification
15       you would use?
16                  A.    Yes.
17                  Q.    An as part of your investigation, you
18       went out to Walmart to look at the type of
19       hoverboard, correct?
20                  A.    Yes.
21                  Q.    Did you ever purchase an exempt -- an
22       exemplar?
23                  A.    No, I did not.
24                  Q.    Okay.    I wasn't sure if you had.
25                  A.    Nope, I didn't.

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